9 F.3d 1543
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Wali S. CLINTON, Petitioner-Appellant,v.Seawall SMITH, Warden;  Attorney General of the State ofMaryland, Respondents-Appellees.
    No. 93-6098.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  October 25, 1993.Decided:  November 15, 1993.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.
      Wali S. Clinton, Appellant Pro Se.
      John Joseph Curran, Jr., Attorney General, David Phelps Kennedy, Office of the Attorney General of Maryland, for Appellees.
      D.Md.
      AFFIRMED
      Before ERVIN, Chief Judge, and PHILLIPS and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    OPINION
    
      1
      Appellant appeals from the district court's order denying relief on his 28 U.S.C. § 2254 (1988) petition.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Clinton v. Smith, No. CA92-1942 (D. Md. Jan. 5, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    